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Fill in this information to identify the case:

United States Bankruptcy Court for the District of Colorado,
Denver Division
                                                                                         Case #:
Debtor 1        Johnsen, Rachel
                                                                                         Chapter: 13
Debtor 2




Local Bankruptcy Form 3015-1.1
CHAPTER 13 PLAN
                                    INCLUDING VALUATION OF COLLATERAL AND CLASSIFICATION OF CLAIMS
                                 This chapter 13 plan dated December 19, 2017 supersedes all previously filed plans.

Part 1    Notices

1.1. To Creditors: THIS PLAN MAY MODIFY YOUR RIGHTS. If you oppose any provision of the plan you must file a written objection with the bankruptcy
     court by the deadline fixed by the court. (Applicable deadlines given by separate notice.) If you do not file a timely objection, you will be deemed to have
     accepted the terms of the plan, which may be confirmed without further notice or hearing. Creditors must file timely proofs of claim in order to receive the
     applicable payments.

1.2. NONSTANDARD PROVISIONS
     [ X ] This plan contains nonstandard provisions, set out in Part 13 of the plan.

1.3. MOTIONS FOR VALUATION OF COLLATERAL AND DETERMINATION OF SECURED STATUS UNDER 11 U.S.C.§ 506
     [ ] This plan contains a motion for valuation of personal property collateral and determination of secured status under 11 U.S.C.    § 506. Additional
         details are provided in Part 7.4 of this plan.
     [ ] The debtor is requesting a valuation of real property collateral and determination of secured status under 11 U.S.C. § 506 by separate motion.
         Additional details are provided in Parts 7.3 and/or Part 7.4 of this plan. List status of motion here (i.e. date filed, date granted, to be filed
         contemporaneously, etc.)


1.4. MOTIONS FOR LIEN AVOIDANCE UNDER 11 U.S.C.§ 522(f)
     [ ] The debtor is requesting avoidance of a judicial lien or nonpossessory, non-purchase-money security interest under 11 U.S.C. § 522(f)
     by separate motion. Additional details are provided in Part 10.4 of this plan. List status of motion here (i.e. date filed, date granted, to be
     filed contemporaneously, etc.)


Part 2    Background Information

2.1       Prior bankruptcies pending within one year of the petition date for this case:
          Case Number & Chapter                      Discharge or Dismissal / Conversion                      Date
          None

2.2       Discharge: The debtor(s):
                                                [ ] is eligible for a discharge; or

                                                [ ] is not eligible for a discharge and is not seeking a discharge.

2.3       Domicile & Exemptions:Prior states of domicile:             within 730 days N/A

                                                                           within 910 days N/A

                                                           [X] state of Colorado or [ ] federal exemptions.
          The debtor is claiming exemptions available in the

2.4       Domestic Support: The debtor owes or anticipates owing a Domestic Support Obligation as defined in 11 U.S.C.
                                                                                                                    § 101(14A). Notice shall be
          provided to these parties in interest:

          A.    Spouse/Parent N/A
          B.    Government N/A
          C.    Assignee or Other N/A
          D.    The Debtor [ ] has provided the Trustee with the address and phone number of the Domestic Support Obligation recipient, [X]
                                                                                                                                          or cannot
                provide the address or phone number because it/they is/are not available.
          E.    The current monthly income of the debtor, as reported on Official form 122C-1 or 122C-2, as applicable, [X]
                                                                                                                        is below, [ ] equal to, or [ ]

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                 above the applicable median income

Part 3     Plan Analysis

3.1        Total Debt Provided for under the Plan and Administrative Expenses

           A.    Total Priority Claims (Class One)
                 1. Unpaid attorney’    s fees                                                                                     $ 2,900
                                     s fees are estimated to be $ 4,100 of which $ 1,200 has been prepaid)
                      (total attorney’
                 2. Unpaid attorney’    s costs (estimated)                                                                        $0
                 3. Total taxes
                      (Federal $ 0 State $ 4,290 Other $ 0)
           B.    Total payments to cure defaults (Class Two)                                                                       $ 22957
           C.    Total payments on secured claims (Class Three)                                                                    $ 0.00
           D.    Total payments on unsecured claims (Class Four)                                                                   $ 0.00
           E.    Sub-Total                                                                                                         $ 25,857.00
           F.    Total trustee’ s compensation (10%) of debtor’ s payments)                                                        $ 2873.00
           G.    Total debt and administrative expenses                                                                            $ 28730.00

3.2        Reconciliation with Chapter 7
           A. THE NET PROPERTY VALUES SET FORTH BELOW ARE LIQUIDATION VALUES RATHER THAN REPLACEMENT VALUES. THE
               REPLACEMENT VALUES MAY APPEAR IN CLASS THREE OF THE PLAN.
           B. Assets available to Class Four unsecured creditors if Chapter 7 filed:
                    1. Value of debtor’s interest in non-exempt property $ 0.00

                                                                          Less costs                         x Debtor’s     Less
Property                                                 Value            of sale         Less Liens         Interest       Exemptions       = Net Value
6182 Eldora St, Golden, CO 80403-2205                    609,355          48,748.00       500,363            100%           105,000          0

                      2.   Plus: value of property recoverable under avoiding powers:                                              $0
                      3.   Less: estimated Chapter 7 administrative expenses:                                                      $0
                      4.   Less: amounts payable to priority creditors:                                                            $ 4,290
                      5.   Equals: estimated amount payable to Class Four creditors if Chapter 7 filed (if negative, enter zero)   $0

           C.    Estimated payment to Class Four unsecured creditors under the Chapter 13 Plan plus any funds recovered from
                 “
                 other property”described in Part 4.1.D below.                                                               $ 0.00

Part 4     Properties and Future Earnings Subject to the Supervision and Control of the Trustee

4.1      Future Earnings: The debtor submits to the supervision and control of the Trustee all or such portion of the debtor's future earnings or other future
income as is necessary for the execution of the Plan, including:
         A. Future earnings which shall be paid to the trustee for a period of approximately 60 months, beginning 1/19/2018 , as follows:
         B.
             Number of Payments                                  Amount of Payments                              Total
                60.00                                            479                                                28,740.00

                                                                 Total of monthly payments                          28740.00

           C.    Amounts for the payment of Class Five post-petition claims included in above:                       $0
           D.    Other property (specify):

4.2        Payments: The debtor agrees to make payments under the Plan as follows:
 [ ] DIRECT PAYMENT: From Debtor to Trustee
 [ ] VOLUNTARY WAGE ASSIGNMENT TO EMPLOYER:
 Paid in the following manner: $0 to be deducted .

Part 5     Class One - Claims Entitled to Priority Under 11 U.S.C. § 507

Unless other provision is made in paragraph 10.3, each creditor in Class One shall be paid in full in deferred cash payments prior to the
commencement of distributions to any other class (except that the payments to the Trustee shall be made by deduction from each payment
made by the debtor to the Trustee) as follows:

5.1        Allowed administrative expenses:
           A. Trustee's compensation (10% of amounts paid by debtor under this Plan)                                               $ 6,786
           B. Attorney's Fees (estimated and subject to allowance)                                                                 $ 2,900
           C. Attorney's Costs (estimated and subject to allowance)                                                                $0




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5.2        Other priority claims to be paid in the order of distribution provided by 11 U.S.C. § 507 (if none, indicate):
           A. Domestic Support Obligations:A proof of claim must be timely filed in order for the Trustee to distribute amounts provided by the
           plan.
                1. Priority support arrearage: The debtor owes past due support to                                                                         in the
                     total amount of $                        that will be paid as follows:
                     [ ] Distributed by the Trustee pursuant to the terms of the Plan; or
                     [ ] The debtor is making monthly payments via a wage order [ ] or directly [ ] (reflected on Schedule I or J) in the amount of $
                     to                                                          . Of that monthly amount,                         is for current support
                     payments and $                          is to pay the arrearage.
                2. Other: For the duration of the plan, during the anniversary month of confirmation, the debtor shall file with the Court and submit to the
                Trustee an update of the required information regarding Domestic Support Obligations and the status of required payments.
           B. Taxes
                    1. Federal Taxes                                                                                                    $0
                    2. State Taxes                                                                                                      $ 4,290
                    3. Other Taxes (describe)                                                                                    $ None

                     4.   Other Class One Claims (if any) (describe):                                                           $ None


Part 6     Class Two –Defaults

6.1        Modification of Rights: If debtor is proposing to modify the rights of creditors in Class Two, debtor must specifically serve such creditor in the
           manner specified in Fed. R. Bankr. P. 9014 and 7004.
6.2        Class Two A (if none, indicate): Claims set forth below are secured only by an interest in real property that is the debtor's principal residence
           located at 6182 Eldora St, Golden, CO 80403-2205 . Defaults shall be cured and regular payments shall be made:

[ ] None

                                                                                                                            Regular
                                                                   Total                       Total                        Payment to
                                                                   Default                     Amount to      No. of        be Made
                                                                   Amount to      Interest     Cure           Months to     Directly to        Date of First
Creditor                                                           be Cured1      Rate         Arrearage      Cure          Creditor           Payment


Red Rocks Credit Union                                             4,358          0.00%        4,358          55            545                1/1/2018

Copper Creek Construction                                          18,599         0.00         18599          58            0                  NA


6.3        Class Two B (if none, indicate): Pursuant to 11 U.S.C. § 1322(b)(5), secured (other than claims secured only by an interest in real property that is
           the debtor's principal residence) or unsecured claims set forth below on which the last payment is due after the date on which the final payment
           under the Plan is due. Defaults shall be cured and regular payments shall be made:

[X] None

                                                                                                                             Regular
                                                                                                                             Monthly
                                                                   Total                       Total                         Payment to
                                                                   Default                     Amount to      No. of         be Made
                                                                   Amount to      Interest     Cure           Months to      Directly to       Date of First
Creditor                         Description of Collateral         be Cured2      Rate         Arrearage      Cure           Creditor          Payment



6.4        Class Two C (if none, indicate): Executory contracts and unexpired leases are rejected, except the following, which are assumed:

[X] None

                                                                                                                            Regular
                                                                                                                            Monthly
                                                                                                                            Payment
                                                                                                                            Made
                                                                                               Total          No. of
                                               Property, if any, Subject to the Contract       Amount to      Months to     Directly to        Date of
Other Party to Lease or Contract               or Lease                                        Cure, if any   Cure          Creditor           Payment




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           A.   In the event that debtor rejects the lease or contract, creditor shall file a proof of claim or amended proof of claim reflecting the rejection of the
                lease or contract within 30 days of the entry of the order confirming this plan, failing which the claim may be barred.

Part 7     Class Three –All Other Allowed Secured Claims

Claims shall be divided into separate classes to which 11 U.S.C. § 506 shall or shall not apply as follows:

7.1        Modification of Rights: If debtor is proposing to modify the rights of creditors in Class Three, debtor must specifically serve such creditor in the
           manner specified in Fed. R. Bankr. P. 9014 and 7004.

7.2        Adequate Protection: If adequate protection payments are indicated, such payments will be made by the trustee to the creditors indicated above
           until such time that superior class creditors are paid in full. Any adequate protection payments made will be subtracted from the total amount
           payable. Unless otherwise provided, adequate protection payments will accrue from the date of filing but will not be made until the creditor has filed a
           timely proof of claim.

7.3        Secured claims subject to 11 U.S.C. § 506 (Real Property): In accordance with Fed. R. Bankr. P. 3012, 7004 and L.B.R. 3012-1, the debtor has
           filed and served a separate motion for valuation of collateral and determination of secured status under 11 U.S.C. § 506 as to the real property and
                                                                                            ’
           claims listed in Part 1.3 of this plan and below. The plan is subject to the court
                                                                                            s order on the debtor’  s motion. If the court grants the debtor’s motion,
           the creditor will have an unsecured claim in the amount of the debt as stated in any timely filed, allowed proof of claim, including such claims filed
           within thirty days from entry of an order determining secured status under Fed. R. Bankr. P. 3002(c)(1) and (3). The creditors listed in Part 1.3 and
           below shall retain the liens securing their claims until discharge under 11 U.S.C.  § 1328, or, if the debtor is not eligible for a discharge, upon the
           debtor’ s successful completion of all plan payments and the closing of the case.

[X] None

                                                                                                                                         Proof of
                                                                                                                                         Claim
                                                                         Description of Collateral                                       amount, if
           Name of Creditor                                              (pursuant to L.B.R. 3012-1)                                     any

7.4        Secured claims subject to 11 U.S.C. § 506 (if none, indicate): The debtor moves the court, through this chapter 13 plan, for a valuation of
           collateral and determination of secured status under 11 U.S.C.§ 506 regarding the property and claims below. The creditors shall retain the liens
           securing their claims until discharge under 11 U.S.C.§ 1328 or payment in full under nonbankruptcy law.

[ ] None
           A.   The following creditors shall be paid the value of their interest in collateral. Any remaining portion of the allowed claim shall be treated as a
                general unsecured claim.
                                                                                    Confirmation Amount of                        Adequate         Total
                                                                                    Value of          Debt as         Interest Protection          Amount
Creditor                                  Description of Collateral                 Collateral        Scheduled       Rate        Payment          Payable

           B.   The following creditors shall be paid the remaining balance payable on the debt over the period required to pay the sum in full.
                                                                                                                                             Total
                                                                                Confirmation Amount of                      Adequate              Amoun
                                                                                     Value of         Debt as Interest            Protectio       t
                                                                                     Collater         Schedul          Ra         n               Payabl
Creditor                                  Description of Collateral                  al               ed               te         Payment         e

7.5        Secured claims to which 11 U.S.C. § 506 shall not apply (personal property) (if none, indicate): The following creditors shall retain the liens
           securing their claims, and they shall be paid the amount specified which represents the remaining balance payable on the debt over the period
           required to pay the sum in full:

[ X ] None
                                                                                                                                        Adequate
                                                                                                             Amount of                  Protection      Total
                                                                                                             Debt as        Interest    Payment         Amount
Creditor                                              Description of Collateral                              Scheduled      Rate                        Payable




7.6        Property being surrendered (if none, indicate): The debtor surrenders the following property securing an allowed secured claim to the holder of
           such claim:

[X] None
                                                                                                                                Anticipated Date of
Creditor                                                        Property                                                        Surrender

7.7        Relief from Stay: Relief from the automatic stay to permit enforcement of the liens encumbering surrendered property shall be deemed granted by
                                                                                                                                ’
           the Court at the time of confirmation of this Plan. With respect to property surrendered, no distribution on the creditor
                                                                                                                                 s claim shall be made unless



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           that creditor files a proof of claim or an amended proof of claim to take into account the surrender of the property.

Part 8     Class Four –Allowed Unsecured Claims Not Otherwise Referred To in the Plan

8.1        Payment of Class Four Claims: Class Four Claims are provided for in an amount not less than the greater of:
           A. The amount necessary to meet the best interests of creditors pursuant to 11 U.S.C.
                                                                                              § 1325(a)(4) as set forth in Part 3.2; or
           B. Total disposable income for the applicable commitment period defined by 11 U.S.C.§ 1325(b)(1)-(4).

8.2        Disposable Income: The monthly disposable income of $0 has been calculated on Form 122C-1 or 122C-2, as applicable. Total disposable
           income is $ 0 which is the product of monthly disposable income of 0 times the applicable commitment period of60 months.

8.3        Classification of Claims:
           A. [X ] Class Four claims are of one class and shall be paid a pro rata portion of all funds remaining after payment by the Trustee of all prior
           classes; or
           B. [ ] Class Four claims are divided into more than one class as follows: .

8.4        Non-Dischargable Claims: A timely filed claim, found by the Court to be non-dischargeable pursuant to 11 U.S.C.         § 523(a)(2), (4), or (6), will
           share pro-rata in the distribution to Class Four. Collection of the balance is stayed until the case is dismissed, converted to a Chapter 7 or discharge
           enters, unless ordered otherwise.

Part 9     Class Five –Post-Petition Claims Allowed Under 11 U.S.C. § 1305 (if none indicate)

Post-petition claims allowed under 11 U.S.C.§ 1305 shall be paid as follows:

[X] None


Part 10    Other Provisions

10.1       Direct Payments: Payment will be made directly to the creditor by the debtor(s) on the following claims:
                                                                                                                              Monthly
                                                                                                                              Payment        No. of Months
Creditor                                                      Collateral, if any                                              Amount         to Payoff
Arvest Central Mortgag                                        6182 Eldora St, Golden, CO 80403-2205                           2,291          60
10.2       Effective Date of Plan: The effective date of this Plan shall be the date of entry of the Order of Confirmation.

10.3       Order of Distribution:
           A. [X] The amounts to be paid to the Class One creditors shall be paid in full, except that the Chapter 13 Trustee    ’s fee shall be paid up to, but not
               more than, the amount accrued on actual payments made to date. After payment of the Class One creditors, the amounts to be paid to cure the
               defaults of the Class Two A, Class Two B and Class Two C creditors shall be paid in full before distributions to creditors in Classes Three,
               Four, and Five (strike any portion of this sentence which is not applicable). The amounts to be paid to the Class Three creditors shall be paid in
               full before distributions to creditors in Classes Four and Five. Distributions under the plan to unsecured creditors will only be made to creditors
               whose claims are allowed and are timely filed pursuant to Fed. R. Bankr. P. 3002 and 3004 and after payments are made to Classes One, Two
               A, Two B, Two C and Three above in the manner specified in Parts 5, 6, 7, and 8.1..
           B. [ ] Distributions to classes of creditors shall be in accordance with the order set forth above, except:


10.4       Motions to Void Liens under 11 U.S.C. § 522(f): In accordance with Fed. R. Bankr. P. 4003(d), the debtor intends to file or has filed, by separate
           motion served in accordance with Fed. R. Bankr. P. 7004, a motion to void lien pursuant to 11 U.S.C.
                                                                                                             § 522(f) as to the secured creditors listed in
           Part 1.4 and below:

                                                                                                                                          Date of Order
                                                           Description of Collateral (pursuant to L.B.R               Date Motion to      Granting Motion
Creditor                                                   4003-2)                                                    Void Lien Filed     or Pending
None

10.5       Student Loans:

           [X] No Student Loans

           [ ] Student Loans are to be treated as an unsecured Class Four claim or as follows:

10.6       Restitution:

           [X] No Restitution

           [ ] The debtor owes restitution in the total amount of $                          which is paid directly to
                in the amount of $                         per month for a period of        months; or as follows:



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10.7        Reinvestment of Property in debtor: All property of the estate shall vest in the debtor at the time of confirmation of this Plan.

10.8        Insurance: Insurance in an amount to protect liens of creditors holding secured claims is currently in effect and will [ ] will not [ ](check one) be
            obtained and kept in force through the period of the Plan.
            Applicable policies will be endorsed to provide a clause making the applicable creditor a loss payee of the policy.

Part 11     Post-Confirmation Modification

The debtor must file and serve upon all parties in interest a modified plan which will provide for allowed priority and allowed secured claims which were not filed
and/or liquidated at the time of confirmation. The value of property to satisfy 11 U.S.C.   § 1325(a)(4) may be increased or reduced with the modification if
appropriate. The modification will be filed no later than one year after the petition date. Failure of the debtor to file the modification may be grounds for
dismissal.

Part 12     Presumptively Reasonable Fee

The following election is made (check one box only):

            [X] Counsel elects the Presumptively Reasonable Fee pursuant to L.B.R. 2016-3(a
                                                                                         ). Any objection to the allowance of the Presumptively
                 Reasonable Fee must be made by the objection deadline to confirmation.

            [ ] Counsel elects to file the Long Form Fee Application pursuant to L.B.R. 2016-3(b).

Part 13     Nonstandard Plan Provisions

Under Bankruptcy Rule 3015.1(e), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the
Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

[ ] None
[X] The following plan provisions will be effective only if there is a check in the box “
                                                                                        included”in Part 1.2. The Debtor will pay 103% of all properly filed proofs
of claim.


Part 14     Signature of Debtor(s) and Debtor(s)’Attorney

By filing this document, the Debtor(s), if not represented by an attorney, and the Attorney for the Debtor(s) certify(ies) that the wording and order of the
provisions in this Chapter 13 Plan are identical to those contained in the Official Form 3015-1.1, and that the plan contains no nonstandard provisions other
than those set out in Part 13.


Date: 12/19/2017                                                                     /s/ Rachel Johnsen
                                                                                     Signature of Debtor 1

Date:
                                                                                     Signature of Debtor 2

Date 12/19/2017                                                                      /s/ Mark Berumen
                                                                                     Signature of Counsel

                                                                                     Attorney Registration #(if applicable)
                                                                                     29628
                                                                                     Business Address (or home address for self-represented)
                                                                                     Berumen Law Firm, P.C.
                                                                                     1873 S Bellaire St Ste 1010
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